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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:09CR382
                                                  )
       vs.                                        )             ORDER
                                                  )
JAMES E. GIBSON,                                  )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion of defendant James E. Gibson (Gibson)
for pretrial release (Filing No. 76). After reviewing the Pretrial Services report, Gibson’s
criminal and substance abuse history, and the assessment by CH, Inc., rejecting Gibson’s
placement at CH, Inc., the motion for release (Filing No. 76) is denied.
       IT IS SO ORDERED.
       DATED this 22nd day of December, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
